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             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF IDAHO
                 (HONORABLE B. LYNN WINMILL)


UNITED STATES OF AMERICA, )              CR18-258-S-BLW
                          )
      Plaintiff,          )              MOTION TO DISMISS
                          )              SUPERSEDING INDICTMENT
  vs.                     )              FOR ETHNICALLY SELECTIVE
                          )              PROSECUTION AND
PAVEL BABICHENKO,         )              ENFORCEMENT
GENNADY BABITCHENKO,      )
PIOTR BABICHENKO,         )
TIMOFEY BABICHENKO,       )
KRISTINA BABICHENKO,      )
NATALYA BABICHENKO,       )
DAVID BIBIKOV,            )
ANNA IYERUSALIMETS,       )
MIKHAIL IYERUSALIMETS,    )
ARTUR PUPKO,              )
                          )
      Defendants.         )
                          )




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      Anna Iyerusalimets, through her counsel Samuel Richard Rubin,

Melissa Winberg, and Nicole Owens of the Federal Defender Services of Idaho,

respectfully moves this Court to dismiss the superseding indictment because

it arose from ethnically selective prosecution and enforcement, violating the

equal protection guarantee of the Fifth Amendment to the United States

Constitution.

                             INTRODUCTION

      The Federal Bureau of Investigation (FBI) engaged in ethnically

discriminatory selective law enforcement and the United States Attorney’s

Office (USAO) engaged in ethnically discriminatory selective prosecution. In

doing so, the FBI and USAO violated the Fifth Amendment guarantee of equal

protection, warranting dismissal.

      In this case, the FBI and the Assistant United States Attorney (AUSA)

targeted Anna and her codefendants for enforcement and prosecution because

of their Russian ethnicity. From the outset of its investigation through the

grand jury proceedings and a public press conference, the government has

repeatedly and gratuitously invoked Anna and her codefendants’ ethnicity. In

the grand jury proceedings, the FBI and the AUSA went so far as to cast doubt

on the defendants’ immigration status even though Anna was born in the

United States and she and her codefendants are all United States citizens. (See

ECF No. 1 at 2–4.) Anna and her codefendants’ Russian ethnicity is irrelevant


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to the charges in the superseding indictment. The government’s repeated,

gratuitous references to the defendants’ Russian ethnicity serve no conceivable

purpose other than to discriminate against them and stoke anti-Russian

sentiment. Because the government targeted Anna and her codefendants for

investigation, arrest, and prosecution based on their Russian ethnicity and in

violation of their equal protection rights, she asks the Court to dismiss the

superseding indictment. Alternatively, at the very least, she asks this Court to

order additional discovery on discriminatory effect.

                         FACTUAL BACKGROUND

      In January 2008, the Federal Bureau of Investigation began

investigating a Boise family in an operation it called “Russian Rubles.” (See

Exhibit A.) Not a single alleged fact in eventual case involved Rubles or Russia,

other than the Russian ethnicity of the defendants.

      On August 14, 2018, the investigation ultimately led to a grand jury.

There, the FBI and the AUSA continued to improperly focus on the Russian

ethnicity of the defendants, casting doubt on their citizenship even though all

of the defendants are United States citizens. The factual background and

arguments relating to the grand jury proceedings are filed in a separate

appendix under seal. Fed. R. Crim. P. 6(e)(2)(B).

      On August 22, 2018, law enforcement agents conducted a massive

roundup of individuals of Russian ethnicity in the Treasure Valley. As part of


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this operation, Anna Iyerusalimets, a then 28-year-old violinist who held a

position in the Boise Philharmonic and pregnant mother was taken into

custody at gunpoint by a SWAT team in the early morning hours in front of

her young children. As law enforcement agents well knew, Anna had no

criminal history and there was no evidence she posed a danger. In fact, the

concurrent search of her residence revealed zero weapons.

      On August 23, 2018, in a widely disseminated press release and press

conference, the United States Attorney’s Office for the District of Idaho and

law enforcement extolled the accomplishment of taking sixteen individuals

into custody. Fifteen of the sixteen individuals were of Russian ethnicity. At

the press conference and in the press release, the government lauded the

“federal indictment of sixteen defendants on drug trafficking, fraud, money

laundering and counterfeit goods trafficking charges[.]” (See Exhibit B and C.)

In fact, of the sixteen, only six were indicted on drug trafficking charges.

      Indeed, Anna’s only tie to the people charged with drug crimes was their

Russian ethnicity. However, in confusing and misleading statements at the

press conference and in the press release, the government repeatedly linked

Anna to six unrelated people charged with drug crimes. At one point, FBI

Assistant Special Agent in Charge Earl Camp emphasized that it was an

investigation into international organized crime that posed a “threat to our

national and economic security.” (Exhibit C at 13:00.) He stated “[w]hat started


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as a traditional drug investigation identified a much more complex scheme to

defraud the American people and American companies with counterfeit

electronics.” (Exhibit C at 13:15.) The subtext was not lost on the reporters in

attendance, who immediately asked about the nationality of the defendants,

forcing United States Attorney Bart Davis to clarify that all but a few of the

sixteen defendants were United States citizens, although he emphasized that

some were naturalized citizens.

       The government selectively enforced and selectively prosecuted this

case against Anna and her codefendants because of their Russian ethnicity and

at a time when anti-Russian sentiment in the United States is high. According

to the Pew Research Center, “half of adults (50%) say they view Russia’s power

and influence as ‘a major threat’ to the well-being of the U.S.” 1 In the same

2019 study, “[a]bout a quarter of adults (26%) sa[id] they view[ed] Russia as

an adversary, while a plurality (44%) sa[id] they think it is a serious problem,

but not an adversary[.]” 2 The language that the government has repeatedly

used in speaking about the defendants echoes the anti-Russian sentiment




1 Pew Research Center, “Climate Change and Russia Are Partisan Flashpoints in
Public’s Views of Global Threats” (July 30, 2019), https://www.people-
press.org/2019/07/30/climate-change-and-russia-are-partisan-flashpoints-in-publics-
views-of-global-threats/#changing-views-of-global-threats.
2 Id.



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among the broader public: that Russia and Russians present threats to United

States national security.

                                 ARGUMENT

      The equal protection guarantee of the Due Process Clause of the Fifth

Amendment constrains the ways in which law enforcement and prosecutors

may exercise discretion. United States v. Armstrong, 517 U.S. 456, 464–65

(1996). Specifically, the government may not target a person for enforcement

or prosecute them based on their “race, religion, or other arbitrary

classification[.]” Id. at 465 (quoting Oyler v. Boles, 368 U.S. 448, 456 (1962)).

Selective enforcement and selective prosecution claims “draw on ordinary

equal protection standards[.]” Id. at 465 (quoting Wayte v. United States, 470

U.S. 598, 608 (1985) (internal quotation marks omitted)). To prevail on

selective prosecution claim, a person must show that the prosecution had a

discriminatory effect and that the prosecutor was motivated by a

discriminatory purpose. United States v. Sellers, 906 F.3d 848, 852 (9th Cir.

2018) (citing Armstrong, 517 U.S. at 465). Likewise, to prevail on a selective

enforcement claim, a person must show that enforcement had a discriminatory

effect and law enforcement were motivated by a discriminatory purpose.

Sellers, 906 F.3d at 856 (citing Lacey v. Maricopa County, 693 F.3d 896, 920

(9th Cir. 2012) (en banc)). Obtaining discovery on selective enforcement




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requires a defendant to show less. “[E]vidence of discriminatory intent” alone

“may be enough to warrant discovery.” Sellers, 906 F.3d at 856.

        The prosecution or enforcement of the law based on “an unjustifiable

standard such as race, religion, or other arbitrary classification” violates Fifth

Amendment’s equal protection clause. Oyler, 368 U.S. at 500. Yet this is

precisely what the government did in investigating, arresting, charging, and

prosecuting Anna Iyerusalimets because of her Russian ethnicity. Despite

Anna’s status as a full citizen born and raised in the United States, the

government has repeatedly emphasized her Russian ethnicity in its

enforcement and prosecution of this case. These facts expose the

unconstitutional foundation of the prosecution and enforcement, which

requires dismissal.

   A.     The government selectively prosecuted Anna based on her
          Russian ethnicity, violating the equal protection guarantee of
          the Fifth Amendment, which warrants dismissal.

        A selective prosecution claim is “an independent assertion that the

prosecutor brought the charge for reasons forbidden by the Constitution.”

Armstrong, 517 U.S. at 463. The requirements for a selective prosecution claim

“draw on ordinary equal protection standards.” Id. at 465 (quoting Wayte, 470

U.S. at 608 (internal quotation marks omitted)). The claim must demonstrate

that the prosecution “had a discriminatory effect and that it was motivated by

a discriminatory purpose.” Wayte, 470 U.S. at 608. To establish a


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discriminatory effect the defendant must show that “similarly situated

individuals of a different race were not prosecuted.” Armstrong, 517 U.S. at

465.

        The facts showing selective prosecution arose in proceedings before the

grand jury and are in the appendix filed separately under seal. See Fed. R.

Crim. P. 6(e)(2)(B).

   B.      The government selectively enforced the law against Anna
           because of her Russian ethnicity, violating the equal
           protection guarantee of the Fifth Amendment, which
           warrants dismissal.

        Selective enforcement claims require a person to make the same showing

as selective prosecution claims: that the investigation had a discriminatory

effect and purpose. Sellers, 906 F.3d at 856 (citing Lacey, 693 F.3d at 920 (9th

Cir. 2012) (en banc)).

        Here the ethnicity of the defendants drove the investigation. First, the

operation name “Russian Rubles” specifically references the defendants’

Russian ethnicity even though none of the alleged facts in this case involve

Rubles (the Russian currency) or Russia. Second, all the defendants charged

in the case are of Russian ethnicity. More importantly, in confusing and

misleading statements at a press conference and in a press release, the FBI

conflated this case with a separate case involving defendants of Russian




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ethnicity who were charged with drug crimes. Anna was not in a “crime ring”

with alleged drug distributors and had nothing to do with those cases.

      Law enforcement specifically targeted individuals of Russian ethnicity

throughout this investigation. The government’s sole focus on those of Russian

ethnicity caused it to ignore other people who engaged in the same conduct

that the government alleges Anna and her codefendants engaged in. The FBI

made controlled purchases of cellphones and chargers from the defendants.

While making these purchases on Amazon and EBay, the government simply

ignored the sellers of other listings for similar products that were displayed.

      Specifically, Count III of the Superseding Indictment relates to a “New

Apple iPhone 5C 16GB Factory Unlocked Smartphone” purchased by law

enforcement. The phone was sold for “$269.00.”




On the same page as this listing, the government saw advertisements for other

businesses selling similar products at a similar price.




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Law enforcement simply ignored the other listings and did nothing to

investigate the other non-Russian sellers. In addition, on July 10, 2018, the

FBI had direct knowledge of the following Chinese companies who were

distributing counterfeit Apple products but chose not to pursue them:




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   C.     Because the government targeted Anna and her codefendants
          based on their ethnicity, she is, at the very least, entitled to
          discovery on the question of discriminatory effect.

        The Ninth Circuit recently held that “Armstrong’s rigorous discovery

standard for selective prosecution cases does not apply strictly to discovery

requests in selective enforcement claims.” Sellers, 906 F.3d at 855. Specifically,

to receive discovery on a selective enforcement claim, “a defendant need not

proffer evidence that similarly-situated individuals . . . were not investigated

or arrested[.]” Id. Instead, “[w]hile a defendant must have something more

than mere speculation to be entitled to discovery, what that something looks

like will vary from case to case.” Id. In establishing a less rigorous standard

for obtaining discovery on selective enforcement claims, the Court recognized

that “[s]elective prosecution is not selective enforcement” because “law

enforcement officers do not enjoy the same strong presumption that they are

constitutionally enforcing the laws that prosecutors do.” Id. at 853.

        Anna has shown that law enforcement targeted her and her

codefendants because they are of Russian ethnicity. In other words, she has

shown the government’s discriminatory intent. But if the Court believes that

Anna’s evidence of discriminatory effect falls short of what would be required

for dismissal on her selective enforcement claim, she is entitled to receive

discovery on discriminatory effect. If the Court does not dismiss, Anna requests

discovery on: (1) the government’s targeting criteria for the enforcement of the


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crimes alleged in the superseding indictment; (2) data on convictions for those

offenses in this District since January 2008, when the FBI began its

investigation in this case; and (3) data on similarly situated people who were

engaged in similar conduct as the government alleges in this case, but who

were not targeted for enforcement.

                                CONCLUSION

       The government may not target anyone for enforcement or prosecution

based on their race, ethnicity, religion, or other arbitrary classification. Doing

so undermines the core guarantee of equal protection in Due Process Clause of

the Fifth Amendment. Yet throughout the investigation and prosecution of this

case, law enforcement and the prosecution have targeted Anna and her

codefendants because of their Russian ethnicity. Law enforcement and the

prosecution ignored people who were not of Russian ethnicity and who were

engaged in the same conduct that is alleged in this case. Accordingly, the Court

must    dismiss   the   superseding    indictment    because    it   arose   from

unconstitutional selective prosecution and enforcement. At the very least, the

Court must order the government to disclose evidence that would allow Anna

to more fully develop her selective enforcement claim.




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Dated: February 25, 2020


Respectfully submitted,
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                       CERTIFICATE OF SERVICE

     I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document, MOTION TO DISMISS

SUPERSEDING        INDICTMENT         FOR     ETHNICALLY       SELECTIVE

PROSECUTION AND ENFORCEMENT with EXHIBITS A-C, was served on

all parties named below on this 25th day of February, 2020.

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